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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                     Case No. 8:21-cr-174-KKM-TGW

 GREG KENDRICK

                        UNITED STATES’ MOTION FOR
                        FINAL ORDER OF FORFEITURE

      Pursuant to 21 U.S.C. § 853(n)(7) and Rule 32.2(c)(2) of the Federal Rules of

Criminal Procedure, the United States of America moves for a Final Order of

Forfeiture for the following assets:

             a. A Glock GMBH .45-caliber pistol, model 30, serial number
                NRS882,

             b. A Glock GMBH 9-millimeter pistol, model 43, serial number
                BFCM839,

             c. A Kel-Tec .56-millimeter pistol, model PLR16, serial number
                P7D04,

             d. Approximately 20 rounds of .223-caliber Norma ammunition,

             e. Approximately 9 rounds of .223-caliber Frontier ammunition,

             f. Approximately 7 rounds of 9-millimemeter Sellier and Bellot
                ammunition, and

             g. Approximately 11 rounds of .45-caliber Blazer ammunition.

      In support of its motion, the United States submits the following

memorandum of law.
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                          MEMORANDUM OF LAW

I.     Statement of Facts

       1.      On November 23, 2021, the Court entered a Preliminary Order of

Forfeiture for the assets described above, pursuant to 18 U.S.C. § 924(d)(1), 28

U.S.C. § 2461(c). Doc. 36.

       2.       In accordance with 21 U.S.C. § 853(n) and Rule 32.2(b)(6)(C), the

United States published notice of the forfeiture and of its intent to dispose of the

assets on the official government website, www.forfeiture.gov, from November 25,

2021, and continuing through December 24, 2021. Doc. 38. The publication gave

notice to all third parties with a legal interest in the assets to file with the Office of the

ClerkCUnited States District Court, Middle District of Florida, Sam Gibbons

Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida

33602Ca petition to adjudicate their interests within 60 days of the first date of

publication.

       3.      No third party has filed a claim to the assets and the time for doing so

has expired.

II.    Applicable Law

       Pursuant to 21 U.S.C. § 853(n)(7), following the disposition of all petitions, or

if no petitions are timely filed in accordance with 21 U.S.C. § 853(n)(2), Athe United

States shall have clear title to property that is the subject of the order of forfeiture and

may warrant good title to any subsequent purchaser or transferee.@ 21 U.S.C. §

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853(n)(7). It is then appropriate for the Court to enter a final order of forfeiture in

accordance with Rule 32.2(c)(2).

       As required by 21 U.S.C. § 853(n), the United States published notice of the

forfeiture on the official government website, www.forfeiture.gov, from November

25, 2021, and continuing through December 24, 2021. Doc. 38.

       Publication by internet is permitted in civil cases pursuant to Rule

G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions, of the Federal Rules of Civil Procedure. Federal Rule of

Criminal Procedure 32.2(b)(6)(C) provides that publication of notice of criminal

forfeiture may be made by any means described in Supplemental Rule G(4)(a)(iv).

Publication gave notice to all those who might have an interest in the subject

property of the United States= and its intent to dispose of the assets and gave

instructions on filing a petition to adjudicate their interests in the assets. In

accordance with those provisions, a person or entity had 60 days from the first date

of publication to file a petition with the District Court to adjudicate his interest. In

this instance, the first date of internet publication was November 25, 2021.

Accordingly, the final date for those who did not receive direct written notice to file a

petition to adjudicate an interest in the assets was January 24, 2022, and the time for

filing such a petition has expired.

       No person, other than the defendant, whose interest was forfeited to the

United States in the Preliminary Order of Forfeiture is known to have any potential

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interest in the assets. No one has filed a petition or claimed an interest in the assets.

The time for filing a petition has expired.

       Publication having been effected, and no claim or petition to adjudicate an

interest having been filed, it is now appropriate for the Court to enter a Final Order

of Forfeiture for the assets.

III.   Conclusion

       The United States requests that, pursuant to 21 U.S.C. § 853(n)(7), and Rule

32.2(c)(2), the Court enter a final order forfeiting to the United States all right, title

and interest in the assets for disposition according to law and vesting clear title to the

property in the United States.

                                              Respectfully Submitted,

                                              ROGER B. HANDBERG
                                              United States Attorney


                                    By:       s/James A. Muench
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                            CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to counsel of record.



                                          s/James A. Muench
                                          JAMES A. MUENCH
                                          Assistant United States Attorney




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